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Attorney for the Plaintiff Virginia B. Aleck


                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ALASKA


 VIRGINIA B. ALECK,

                 Plaintiff,

 v.

 UNITED STATES OF AMERICA, DR.
 BENJAMIN A. GARNETT, AND ALASKA
 NATIVE MEDICAL CENTER                                Case No. _______________________

                 Defendants.


                                            COMPLAINT

         Plaintiff Virginia B. Aleck, through her counsel, Farnsworth & Vance, and for her

Complaint against the United States of America, Dr. Benjamin A. Garnett and Alaska Native

Medical Center alleges as follows:

                                     STATEMENT OF JURISDICTION

      1. Plaintiff Virginia B. Aleck (“Aleck”) is a resident of the State of Alaska residing in the

         Lake & Peninsula Burrough.


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   2. Defendant Benjamin A. Garnett, MD (“Garnett”) upon information and belief is a

resident of the State of Alaska.

   3. The acts or omissions upon which this case is based occurred in Anchorage, Alaska.

   4. This suit is brough pursuant to the Federal Tort claims Act, 28 U.S.C. § 2674, and

this Court has exclusive jurisdiction over this action, pursuant to 28 U.S.C. § 1346(b).

Venue in this District is authorized by 28 U.S.C. § 1402(b).

   5. Notice of this claim as required by 28 U.S.C. § 2675 was received by the United

States Department of Health & Human Services on April 3, 2018.

   6. Defendant has rendered a final administrative decision, and not more than six

months has elapsed.

   7. The Alaska Native Medical Center (“ANMC”) is operated by the Alaska Native Tribal

Health Consortium (“ANTHC”) in Anchorage, Alaska. ANMC is a compacting entity of the

Indian Health Service (“IHS”). Health care providers at ANMC are employees of the United

States of for purposes of liability under the FTCA if they are employees of ANMC, acting

within the scope of their employment, and carrying out the compact with the HIS at the time

of the act which gives rise to the Complaint.

   8. At times pertinent to the Complaint, the employees of ANMC who are alleged to

have acted negligently and in reckless disregard of Virginia Aleck’s health and safety were

acting within the scope of their employment in carrying out ANMC’s compact with the IHS

and entities

   9. Virginia Aleck is an adult.

   10. Virginia Alec is an enrolled tribal member and was entitled to receive medical care

from the IHS and entities that compact with the IHS, including ANMC and ANTHC.
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                                         STATEMENT OF FACTS

   11. In April of 2008 suffering from stress incontinence, plaintiff had sling surgery which

included the placement of surgical mesh. The surgery was located at the Alaska Native

Medical Center in Anchorage, Alaska.

   12. On March 5, 2018, Virginia Aleck presented to ANMC urology department on a

    referral from Dr. Garnett in the GYN department; for an evaluation of recurrent urinary

   tract infections, urinary incontinence and urinary frequency


   13. On April 3, 2018, plaintiff underwent surgery at the Alaska Native Medical Center for

surgical correction of post hysterectomy vaginal prolapse. Virginia continued to have a

worsening lump in her vagina, pelvic pain, vaginal irritation, leaking “all the time.” The mid

urethral sling mesh had eroded into the vagina and she wanted it removed.

   14. On April 6, 2018 admitted to ANMC with complaints of lower abdomen pain rating 7

out of 10, nausea and fatigue and treated for a likely urinary tract infection.

   15. On May 2, 2018 Virginia Aleck presented to the Bristol Bay Area Health clinic for

suspected complications from the April 3, 2018 surgery. These complications included

lower abdominal pain, nausea, and constipation. Plaintiff was also concerned because she

was noticing bowel excrement in her vaginal area.

   16. On May 14, 2018 after a CT scan done on the same date, Dr. Garnett discussed

with Virginia Aleck and her family that there was a surgical complication involving trapped

bowel in the suspension sutures or passing a stitch through the bowel as potential

etiologies. It was discussed that surgical correction would be necessary.

   17. On May 15, 2018 plaintiff was admitted to Alaska Native Medical Center and


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diagnosed with a colovaginal fistula.

   18. On May 16, 2018 at Alaska Native Medical Center, plaintiff underwent a rigid

sigmoidoscopy and laparoscopic repair of the colovaginal fistula.

Beginning approximately June 12, 2018 plaintiff started complaining of feeling sick,

weak and tired. She was not able to ambulate to the Bristol Bay Area Health Clinic and

instead needed to receive home health care provided by the clinic.

   19. Virginia Aleck continues to suffer from fatigue, incontinence, pain other continuing

surgery related complaints.

  COUNT I -DR. BENJAMIN A. GARNETT AND ALASKA NATIVE MEDICAL CENTER

   20. Medical personnel employed by ANMC, including doctors, nurses ANPs, PAs and

other care providers breached the applicable standards of care and were negligent in

providing medical care to Virginia Aleck.

   21. The negligent misconduct of these health care providers includes, but is not limited

to, the failure to timely diagnose and treat Plaintiff, and the failure to coordinate and

manage her care, which proximately caused her colovaginal fistula and multiple

hospitalizations, inadequate discharge planning and instruction, the failure to employ a

differential diagnosis the failure to provide continuous, coordinated care through an

assigned physician responsible for her diagnosis, treatment, care and return to wellness.

   22. As a direct and proximate result of the negligent misconduct of the care providers

described above, Virginia Aleck has suffered past and future damages, including, but not

limited to:

              a. Personal injuries, including a colovaginal fistula that fecal matter would enter

                 her vagina from her bowels;
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           b. Physical pain, fatigue, incontinence and discomfort;

           c. Emotional suffering;

           d. Loss of enjoyment of life;

           e. Other economic and nonecomonic losses, all in excess of $200,000, the exact

              amount to be determined at trial.

       WHEREFORE, Plaintiff requests a trial by jury to determine an award of

       compensatory damages in excess of $200,000.00, attorney’s fees and costs for

       having to file this suit and any other relief the finder of facts deems warranted.


                   18th day of June, 2021 at Anchorage, Alaska.
       DATED this ______


                                                       Farnsworth & Vance
                                                       Attorneys for Plaintiff


                                                              /S/
                                                       ______________________________
                                                       Jeffrey H. Vance
                                                       Alaska Bar No. 0111080


                                                              /S/
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                                                       Ty A. Farnsworth
                                                       Alaska Bar No. 1511095




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